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Attorney for Defendant – Pavel “Paul” Babichenko


                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,


               Plaintiff,                      CASE NO. CR-18-00258-BLW

vs.
                                               MEMORANDUM IN SUPPORT OF
PAVEL BABICHENKO,                              MOTION TO RETURN PROPERTY
GENNADY BABITCHENKO,
PIOTR BABICHENKO,
TIMOFEY BABICHENKO,
KRISTINA BABICHENKO,
NATALYA BABICHENKO,
DAVID BIBIKOV,
ANNA IYERUSALIMENTS,
MIKHAIL IYERUSALIMETS,
ARTUR PUPKO,


               Defendants.



I.      Statement of The Facts

        Two motor vehicles belonging to Pavel “Paul” Babichenko were seized in this

case. The seized vehicles were a 2016 Lexus LX570 (Vin # JTJHY7AX2G4189699) and




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a 2012 Jeep Wrangler Rubicon (Vin # 1C4BJWFG9CL221841).1 These are family

vehicles used to commute to work, run errands and transport children to school. A

Notice Of Seizure Of Property And Initiation Of Administrative Forfeiture Proceedings

was sent to Paul by certified mail on October 19, 2018. (Exhibit “A”) Paul filed both a

responsive Claim Form (Exhibit “B”) and a Request For Hardship (Exhibit “C”) on

November 19, 2018. The Federal Bureau of Investigation acknowledged receipt of his

materials on December 18, 2018. (Exhibit “D”). Paul reports he has been making

regular payments on the seized vehicles.

II.      ARGUMENT

A. Aggrieved Party

         Paul asks the vehicles be ordered returned. He has been aggrieved by the

deprivation of the use and enjoyment of his property. He seeks the immediate return of

the property.

         " A person aggrieved . . . by the deprivation of property may move for the

property's return." Fed. R. Crim. P. 41(g). The burden of proof on a Rule 41(g) motion

depends on when the defendant files the motion. " When a motion for return of property

is made before an indictment is filed (but a criminal investigation is pending), the movant

bears the burden of proving both that the [property's] seizure was illegal and that he or

she is entitled to lawful possession of the property." United States v. Martinson, 809 F.2d

1364, 1369 (9th Cir. 1987) cited by United States v. Gladding, 775 F.3d 1149 (9th Cir.

2014).




1
  See Dkt. # 210, Page 22 and 23, Criminal Forfeiture Allegations of Superseding
Indictment

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        Paul has been indicted. He has neither pleaded guilty nor had the case tried

before a jury. He believes the theory behind the Government’s seizure of his property is

that proceeds from an alleged criminal enterprise were used to make payments on the

vehicles. There is probably no way answer the question of the legality of the seizures

absent a trial. Regardless, Paul wants the property back. He will likely revisit this

question in the future if he is unable to obtain relief in the present.

        The burden of proof changes when " the property in question is no longer needed

for evidentiary purposes, either because trial is complete, the defendant has pleaded

guilty, or . . . the government has abandoned its investigation." Id. Then, the burden of

proof shifts and the defendant " is presumed to have a right to [the property's] return, and

the government has the burden of demonstrating that it has a legitimate reason to retain

the property." Id.; see also United States v. Kriesel, 720 F.3d 1137, 1144 (9th Cir. 2013)

(explaining that a " defendant's Rule 41(g) motion should presumptively be granted if the

government no longer needs the property for evidence." (internal quotation marks and

citation omitted)). Id. see Gladding at 1153.

II. Hardship


        Paul argues the property should be returned due to hardship. Congress enacted 18

U.S.C. §983(f) as part of the Civil Asset Forfeiture Reform Act (CAFRA) of 2000, Pub.L.

No. 106-185, § 2, 114 Stat. 202, 208-09 (2000). The purpose was to provide a

mechanism for the release of property during the pendency of a civil forfeiture

proceeding. A petitioner may seek the return of property in certain circumstances in

which the Government's continued possession would create a substantial hardship on

persons claiming an interest in the property.



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        18 U.S.C. 983(f) provides: (1) A claimant under subsection (a) is entitled to

immediate release of seized property if (A) the claimant has a possessory interest in the

property; (B) the claimant has sufficient ties to the community to provide assurance that

the property will be available at the time of the trial; (C) the continued possession by the

Government pending the final disposition of forfeiture proceedings will cause substantial

hardship to the claimant, such as preventing the functioning of a business, preventing an

individual from working, or leaving an individual homeless; (D) the claimant's likely

hardship from the continued possession by the Government of the seized property

outweighs the risk that the property will be destroyed, damaged, lost, concealed, or

transferred if it is returned to the claimant during the pendency of the proceeding; and (E)

none of the conditions set forth in paragraph (8) applies. ..... (8) This subsection shall not

apply if the seized property-- (A) is contraband, currency, or other monetary instrument,

or electronic funds unless such currency or other monetary instrument or electronic funds

constitutes the assets of a legitimate business which has been seized; (B) is to be used as

evidence of a violation of the law; (C) by reason of design or other characteristic, is

particularly suited for use in illegal activities; or (D) is likely to be used to commit

additional criminal acts if returned to the claimant.


        Paul has a possessory interest in the vehicles. He makes auto loan payments.

Paul lives in Boise. He is married with children. His children are enrolled in local

schools. His children are transported to school by the parents. He has a home and

significant extended family in the area. A lack of use of these vehicles has made it

difficult to operate his business, a cell phone case company. There is no risk the property

will be destroyed. The property is tangible not currency. It was not evidence of a crime.



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Lastly, it is unlikely these vehicles will be used for any criminal activity. Paul asks the

property be ordered returned immediately.



       Respectfully submitted this 4th day of November 2019.



                                          _____________/s/_______________
                                          John C. DeFranco




                              CERTIFICATE OF SERVICE


       I CERTIFY that a copy of the foregoing document was served on all parties

named below on this 4th day of November, 2019.

Kate Horowitz, Assistant United States Attorney               __x_ CM/ECF Filing
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                                               __________/s/____________
                                                Megan Lentz




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